Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 1 of 6




               Exhibit E
Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 2 of 6
Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 3 of 6
Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 4 of 6
Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 5 of 6
Case 1:17-cv-11008-MLW Document 27-5 Filed 08/02/17 Page 6 of 6
